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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ODELIA ABECASSIS, et al.                          §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §             C.A. No. 4:09-CV-03884
                                                  §
OSCAR S. WYATT, JR., et al.                       §
                                                  §
      Defendants.

     JOINT MOTION TO DISMISS WITH PREJUDICE ALL CLAIMS BROUGHT BY
      PLAINTIFFS AGAINST DAVID CHALMERS, JR., BAYOIL (USA), INC., AND
                   BAYOIL SUPPLY & TRADING LIMITED

TO THE HONORABLE GRAY MILLER:

       Plaintiffs Baruch Yehuda Ziv Brill, Yossef Cohen, Aseal Friedmann, Simon Lebowitz,

Yissachar Zvi Lebowitz, Devora Ester Markowitz, Gerald Markowitz, Shifra Markowitz, Sarah

Mordechai, Shirin Mordechai, Rosalyn Shoshana Pearl, Aviva Rubinoff, Eliezer Rubinoff,

Joseph Rubinoff, Mitchell Jay Rubinoff, Ora Rubinoff, Shoshana Rubinoff, Frances Nati

Schnall, Gila Schnall, Ira Yehuda Schnall (collectively “Plaintiffs”), on the one hand, and David

B. Chalmers and Bayoil (USA), Inc., file this Joint Motion to Dismiss, in support of which they

would show the Court as follows:

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiffs and David B. Chalmers,

Bayoil (USA), Inc., and Bayoil Supply & Trading Limited (collectively “Bayoil Defendants”)

have resolved the claims between them and request that the Court enter the order submitted

herewith dismissing all claims asserted by Plaintiffs against the Bayoil Defendants herein with

prejudice to refiling of same. Each party to this dismissal is to bear its own costs.
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       WHEREFORE, PREMISES CONSIDERED, Plaintiffs and the Bayoil Defendants

respectfully request that the Court enter the Joint Order of Dismissal submitted herewith.


Respectfully submitted,

/S/ DAVID J. DICKENS
David J. Dickens

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DAVID B. CHALMERS, JR., AND
BAYOIL (USA), INC.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 14 2016, I electronically filed the foregoing with the Clerk of

the Court for the U.S. District Court, Southern District of Texas, using the ECF system, which

will send a notice of electronic filing to all counsel of record.



                                                /s/ David J. Dickens
                                               David J. Dickens




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